
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5185-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5184-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5183-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5187-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5785-14.pdf (mistyped character)


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